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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/strong&gt;&lt;/font&gt;&lt;/center&gt;


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&lt;strong&gt;&lt;center&gt;NO. 03-01&lt;a name="1"&gt;&lt;/a&gt;-00&lt;a name="2"&gt;076&lt;/a&gt;-CV&lt;/center&gt;
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&lt;strong&gt;&lt;center&gt;&lt;a name="3"&gt;In re Union Pacific Resources Company&lt;/a&gt;&lt;/center&gt;
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&lt;center&gt;ORIGINAL PROCEEDING FROM LEE COUNTY &lt;/center&gt;
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&lt;/strong&gt;&lt;strong&gt;PER CURIAM&lt;/strong&gt;

&lt;p&gt;	Relators petition for writ of mandamus is denied.  Tex. R. App. P. 52.8(a).  

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&lt;p&gt;Before Chief Justice Aboussie, Justices Kidd and Patterson

&lt;p&gt;Filed:   February 27, 2001

&lt;p&gt;Do Not Publish
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